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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

)
BOB §. OJUGBANA, )
)
Plaintiff, )
)

Vv. ) CASE NO: 24-cv-
)
VIRGIN ATLANTIC AIRLINE, RICHARD _ )
CHARLES NICHOLAS BRANSON, AND )
SHAI WEISS (C.E.0.}, }
)
)
Defendants. }

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Virgin Atlantic Airways, Ltd.
(s/h/a “Virgin Atlantic Airline” and hereinafter “Virgin Atlantic”) hereby removes this pending
action from Suffolk Superior Court to the United States District Court for the District of
Massachusetts, on the following grounds:

INTRODUCTION

1. On or about April 25, 2024, Plaintiff Bob S$. Ojugbana (‘Plaintiff’) filed in Suffolk
Superior Court, a Complaint bearing Civil Docket No. 24-1106F (the “State Court Action”). The
Complaint named as defendants Virgin Atlantic, Richard Charles Nicholas Branson, the founder
and President of Virgin Atlantic (hereinafter “Branson’’), and Shai Weiss, the Chief Executive
Officer of Virgin Atlantic (“hereinafter “Weiss”). A true and correct copy of the Summons and
Complaint (the “Complaint”) is attached hereto as Exhibit A.

2. On April 29, 2024, Virgin Atlantic was served with a copy of the Complaint via CT

Corporation, its registered agent for service of process.
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3, On April 29, 2024, Plaintiff also attempted service on Branson via CT Corporation.
Branson disputes that such service was proper because CT Corporation is not Branson’s authorized
agent for service of process.

4, The Complaint was not served on Shai Weiss.

5. On May 15, 2024, Plaintiff filed with Suffolk Superior Court an Amended
Complaint. The Amended Complaint is in all respects identical to the Original Complaint, except
that it does not include Shai Weiss as a defendant. A true and correct copy of the Amended
Complaint (the “Amended Complaint”) is attached hereto as Exhibit B.

6. The entire state court record, including the Complaint, Amended Complaint, Civil
Action Cover Sheet and Returns of Service for Virgin Atlantic and Mr. Richard Branson
(collectively, the “State Court Record”) are attached herein as Exhibit C. Certified copies of the
State Court Record will be filed with the Federal Court pursuant to Local Rule 81.1 once received
by Virgin Atlantic.

7. In the Amended Complaint, Plaintiff asserts claims against Virgin Atlantic and
Branson for food poisoning he allegedly suffered as the result of a “contaminated meal” that was
served to him during a Virgin Atlantic flight from Lagos, Nigeria to London, England. At the time
of the incident, Plaintiff was traveling pursuant to tickets providing transportation from Lagos to
Boston, via London. See Amended Complaint.

8. The law firm of Clyde & Co US LLP has been retained to represent defendants
Virgin Atlantic and Branson, and the originally named defendant and now non-party, Weiss.

FEDERAL QUESTION JURISDICTION EXISTS BECAUSE PLAINTIFF'S
CLAIMS ARISE UNDER A TREATY OF THE UNITED STATES

9, Removal is proper because this Court has original jurisdiction of this case based on

the existence of a federal question under 28 U.S.C. § 1331.
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10. _—_— Plaintiff's claims arise under and are governed exclusively by a treaty of the United
States known as the Convention for the Unification of Certain Rules for International Carriage by
Air, done at Montreal on 28 May 1999, ICAO Doc. No. 9720 (entered into force November 4,
2003), reprinted in S. Treaty Doc. 106-45, 1999 WL 33292734 (hereinafter, the “Montreal
Convention”).

11. The Montreal Convention applies to all and exclusively governs claims for bodily
injuries sustained during “international carnage” by air within the meaning of Article 1 of the
Convention. See Montreal Convention, Article 17; Dagi v. Delta Airlines, Inc., 961 F.3d 22, 27-
28 (ist Cir. 2020).

12. Pursuant to the Montreal Convention, “international carriage” by air includes
carriage in which, according to the agreement between the parties, the place of departure and the
place of destination are: (1) situated within two different State Parties; or (2) within the territory
of a single State Party if there is an “agreed stopping place within the territory of another State,
even if that State is not a State Party.” Montreal Convention, Art. 1(2).

13. The United States, the United Kingdom and Nigeria, all are State Parties to the
Montreal Convention. See International Civil Aviation Organization (ICAO), Current List of
Signatories fo the Montreal Convention of 1999 available at
https:/www.icao.int/secretariat/legal/List’200fe20Parties/Mtl99_EN.pdf (last visited May 9,
2024).

14. The Amended Complaint alleges that Plaintiff suffered bodily injuries during
international carriage by air because, at the time of the food poisoning incident described in the
Complaint, plaintiff was traveling on Virgin Atlantic from Lagos to Boston, via London. See

Montreal Convention, Art. 17; Dagi v. Delta Airlines, Inc., 961 F.3d 22 (1st Cir. 2020).
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15. Accordingly, the rights of Plaintiff and Virgin Atlantic in this litigation are
governed exclusively by the terms and provisions of the Montreal Convention, and this action may
be removed to this Court pursuant to the provisions of 28 U.S.C. §§ 1331 and 1441 (a).

16. Although Branson maintains that the attempted service on him through CT
Corporation is not valid, any claims that Plaintiff asserts against him in this litigation also are
governed by the terms and provisions of the Montreal Convention. See Montreal Convention,
Articles 30 and 43; Fadhliah v. Societe Air France, 987 F.Supp.2d 1057, 1064-65 (C.D. Ca. 2013).
And, supplemental jurisdiction also exists over the claims against Branson pursuant to 28 U.S.C.
§ 1367. See Fadhliah, 987 F.Supp.2d at 1064-65.

THIS NOTICE OF REMOVAL IS TIMELY AND PROCEDURALLY PROPER

17. In addition to satisfying the requirements of jurisdiction, Virgin Atlantic has
satisfied all other requirements for removal.

18. The Notice of Removal is timely under 28 U.S.C. § 1446(b), because it is being
filed within thirty (30) days of the service date on Virgin Atlantic on April 29, 2024.

19. Furthermore, to remove an action to federal court, “all defendants who have been
properly joined and served” must consent to the removal. 28 U.S.C. § 1446(b)(2)(A). Although
Branson maintains that the attempted service on him through CT Corporation is not valid, and
therefore his consent to the removal is not necessary, he nonetheless consents to this removal.

20. Acopy ofthis Notice of Removal will be filed with the Clerk’s Office of the Suffolk
Superior Civil Court, and will be served upon plaintiff pursuant to 28 U.S.C. § 1446(d).

21. Furthermore, venue is proper under 28 U.S.C. § 1441(a) because this Court is the
United States District Court for the district corresponding to the place where the State Court Action

is pending (Suffolk Superior Court).
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CONCLUSION

WHEREFORE, Defendant Virgin Atlantic prays that the above-entitled action now
pending in the Suffolk Superior Civil Court be removed to this Court pursuant to 28 U.S.C. §§
1331, 1441, and 1446. A copy of this Notice of Removal will be filed promptly with the Clerk of
Suffolk County Superior Court and served upon the plaintiff in accordance with 28 U.S.C. §
1446(d). This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of Civil
Procedure, as required by 28 U.S.C. § 1446(d). Virgin Atlantic does not waive any available
defense by filing this Notice of Removal. Virgin Atlantic requests the opportunity to brief and

respond, both in writing and orally, against any Motion to Remand filed by the Plaintiff.

VIRGIN ATLANTIC AIRWAYS, LTD.
By its attorney,

‘Ss! Brian J. O'Connor
Brian J. O’Connor, BBO No. 691004
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265 Franklin Street, Suite 802
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(617) 728-0050
Dated: May 20, 2024 (617) 728-0052 (Fax)

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CERTIFICATE OF SERVICE

I hereby certify that on May 20, 2024, a true copy of the above document was served by
first-class mail on the following party, representing himself pro se:

To: Bob 8. Ojugbana
239 Neponset Valley Park-Way
Boston, MA 02136

/sf Brian J. O’Connor

Brian J. O’Connor
